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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE QSJUH-g PH gzhg
wEsTERN DIVISION

 

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UNITED sTATES oF AMERICA, ""m' O’[" ""“‘ "'*'°‘-“`”M’S
Plaintiff,
vs~ Cr. No. 04~2047l-D
MARIA BURKS,
Defendant.

 

ORDER GRANTING MOTION
'I‘O MODIFY BOND CONDITIONS

 

THIS CAUSE came before the Court upon the petition of the
defendant, Maria Burks, to modify a bond condition.

Ms. Burks has shown to the Court that her present health
condition does not permit her to seek employment, and the Court
having reviewed the record and the positions of the parties, hereby
GRANTS the motion. Ms. Burks’ bond condition requiring her to seek
employment is hereby struck until such time as her health allows

her to seek employment.

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DATE

 

STATES DISTRICT COUR'I‘ JUlJGE

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UNITED sATE DISTRICT COURT - W'"TRN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

